                              Case 4:19-cv-07123-PJH Document 74 Filed 05/20/20 Page 1 of 1



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                    6    Specially Appearing For
                         KING & SPALDING LLP
                    7

                    8                                         UNITED STATES DISTRICT COURT
                    9                                   NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                           Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                               $0(1'(' ORDER GRANTING JOINT
                                                                             STIPULATION TO ENLARGE TIME FOR
                  13                            Plaintiffs,                  DEFENDANTS TO OPPOSE PLAINTIFFS’
                                                                             MOTION TO DISQUALIFY AND
                  14     v.                                                  PLAINTIFFS’ REPLY IN SUPPORT OF
                                                                             THEIR MOTION TO DISQUALIFY$6
                  15     NSO GROUP TECHNOLOGIES                              02',),('%<7+(&2857
                         LIMITED and Q CYBER
                  16     TECHNOLOGIES LIMITED,                               Date:              May 15, 2020

                  17                            Defendants.                  Courtroom: 3

                  18                                                         Judge:             Hon. Phyllis J. Hamilton

                  19              PURSUANT TO STIPULATION, IT IS SO ORDERED THAT:

                  20              1.       Defendants will have an additional week to oppose Plaintiffs’ Motion to

                  21                       Disqualify Defense Counsel (“Motion”), extending their deadline to file their

                  22                       opposition to May 29, 2020; and

                  23              2.       Plaintiffs will have an additional week to reply to Defendants’ opposition,
                                                                                                5
                  24                       extending their deadline to file their reply to June 12, 2020.
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                  25     Dated: _______________,
                                  May 20         2020.                                          TA
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                                                                         Hon. Phyllis J. Hamilton
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                  28     4846-1425-5292, v. 1                                                     N
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LONG & LEVIT LLP
465 CALIFORNIA STREET,                                                                    $0(1'(' ORDER GRANTING JOINT STIPULATION
      5TH FLOOR
    SAN FRANCISCO,                                                                                  TO ENLARGE TIME – 4:19-cv-07123-PJH
   CALIFORNIA 94104
